                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:11-00194
                                                 )          JUDGE CAMPBELL
MAURICE ROGER THOMPSON                           )


                                             ORDER

       Pending before the Court are the Government’s Sixth Motion In Limine Regarding

Anticipated Character Evidence (Docket No. 999) and Ninth Motion In Limine To Introduce

Prior Conviction For Criminal Impersonation (Docket No. 1049). Defendant Thompson shall

file a response to the Motions in advance of the Pretrial Conference set for February 1, 2013, at

1:00 p.m.

       It is so ORDERED.


                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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